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                                    LITIGATION PLAN
                                 (Revised Effective 1/1/2019)

PRESIDING JUDGE: Nye

DATE OF -SCHEDULING CONFERENCE: December 2, 2022

CASE NO: 2:22-CV-00389-DCN NATURE OF SUIT: Commercial / Breach of Contract

CASE NAME: Schueler v. Four Squarebiz, LLC, et al.

PARTY SUBMITTING PLAN:
    ☐ Plan has been stipulated to by all parties.
    ☒ Plan has not been stipulated to, but is submitted by:

                 ATTORNEY: Andrew M. Wagley

                 REPRESENTING: Plaintiff(s)

      This Litigation Plan is submitted by Plaintiff Cody J. Schueler, by and
through his counsel of record, with the consent and agreement of Defendant
Micah Eigler, acting pro se. Defendant Eigler has indicated his express position
that his marital community should not be involved in the current litigation.

1.       CASE MANAGEMENT TRACK: Indicate the track that best fits your case.
         Designation of a track is not binding but will assist the Court in assessing its
         workload and selecting a trial date and discovery schedule that meets counsel’s
         needs.

         ☐       Expedited Track - Cases on this track will typically be set for trial
                 approximately 9 to 12 months following the case management conference,
                 take 4 days or less to try, and involve limited discovery.

         ☒       Standard Track - Cases on this track will typically be set for trial
                 approximately 12 to 15 months following the case management conference,
                 take about 5-10 days to try, and involve typical discovery. Most cases fall
                 within this category.

         ☐       Complex Track - Cases on this track will typically be set for trial
                 approximately 15 to 24 months following the case management conference,
                 take more than 10 days to try, involve extensive discovery, and involve
                 extensive expert testimony.


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         ☐         Legal Track - Cases that involve legal issues likely to be resolved by
                   motion rather than trial. There will be little, if any, discovery. A motion
                   hearing will be set at the case management conference.

2.       DISPOSITIVE MOTIONS FILING CUT-OFF DATE: July 14, 2023

             a. This is the critical event for case management and will dictate when the
                trial will be set. Unless the case is resolved through dispositive motions,
                the case will likely be tried within 6 months following this date.
                Therefore, this cut-off date should be set within 3-6 months
                following the case management conference for an expedited track
                case, within 6-9 months for a standard track case, and within 12-18
                months for a complex track case.

             b. A motion to amend to add a claim for punitive damages must be filed by
                the dispositive motion cut-off date. If the parties desire an earlier or later
                date to accommodate discovery related to the same, they should raise the
                issue with the court during the scheduling conference.

3.       JOINDER OF PARTIES & AMENDMENT OF PLEADINGS CUT-OFF
         DATE: February 3, 2023
          (Not more than 3 months following the Case Management Conference. This is the
         deadline for the filing of a motion to amend for reasons other than for adding a
         claim for punitive damages).

4.       ALTERNATE DISPUTE RESOLUTION OPTIONS - Pursuant to Local Rule
         16.1 and 16.4, the parties must meet and confer about (1) whether they might
         benefit from participating in some form of ADR process; (2) which type of ADR
         process is best suited to the specific circumstances in their case; and (3) when the
         most appropriate time would be for the ADR session to be held.

         Check Preference:

         ☒         Mediation (General Order No. 130) (Local Rule 16.4(b)(2))
         ☐         Settlement Conference (Local Rule 16.4(b)(1))
         ☐         Arbitration (Local Rule 16.4(b)(3))
         ☐         Other: Click here to enter text.

         ADR to be held by: July 14, 2023

               Regardless of whether the parties choose mediation, a judicially-
               supervised settlement conference, or some other form of ADR, the Court


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               strongly encourages the attorneys to schedule ADR early in the
               proceedings and in advance of the filing of dispositive motions to reduce
               the cost of litigation for their clients. In addition, the trial will be set very
               soon after the resolution of dispositive motions so that there will be little
               time to engage in meaningful ADR after that date.

5.       DISCOVERY PLAN. Fed. R. Civ. P. 26(f): November 25, 2022

               As required by Rule 26(f), the parties must submit a detailed Discovery
               Plan to the Court in advance of the Case Management Conference. The
               Court expects the Discovery Plan will represent a good faith effort by
               all counsel to expedite the process and reduce the cost of discovery.
               At a minimum, the Plan shall cover the topics set forth in Rule 26(f)(3),
               including the timing of initial disclosures, the subjects on which
               discovery is necessary, the timing of discovery, when discovery will be
               completed, whether phasing of discovery is appropriate, issues
               concerning ESI which need to be resolved, and whether there is a dispute
               among the parties in applying the proportionality standard of Rule
               26(b)(1).

6.       FACTUAL DISCOVERY CUT-OFF DATE: June 16, 2023
         (15-30 days prior to the dispositive motion cutoff).

               Counsel may, however, stipulate that after dispositive motions have been
               decided the parties will engage in additional discovery focused on trial
               preparation. This may include discovery relating to damage claims and
               other issues not typically resolved by dispositive motions.

7.       EXPERT DISCOVERY CUT-OFF DATE: June 16, 2023

8.       EXPERT TESTIMONY DISCLOSURES: Local Rule 26.2(b)

         a.       Plaintiff identify and disclose expert witnesses by: April 17, 2023
                  (60 days prior to the discovery cut-off).
         b.       Defendant identify and disclose experts by: May 17, 2023
                  (30 days after Plaintiff’s disclosure.)
         c.       Plaintiff’s Disclosure of rebuttal experts by: May 31, 2023
                  (2 weeks after Defendant’s disclosure.)
         d.       All discovery relevant to experts completed by: June 16, 2023

9.       TRIAL DATE: Fall 2023—The date of the trial and the pretrial conference will
         be scheduled at a trial scheduling conference following the resolution of
         dispositive motions or the conclusion of Court-supervised ADR.


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